Case 18-42650              Doc 24          Filed 03/06/19 Entered 03/06/19 14:55:20   Desc Main
                                             Document     Page 1 of 8

 LAW OFFICE OF DONALD JOHNSTON
 306 N. Travis Street, Suite 102
 Sherman, Texas 75090
 (903) 891-9840 - telephone
 (903) 891-4051 - fax (restricted)
 djohnston50(verizon.net
 Attorney for Debtor

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 IN RE:

 JOHN MICHAEL CHANEY                                          CASE NO. 18-42650
   xxx-xx-5155



 Address: 614 County Road                                     CHAPTER 7
          Windom, Texas 75492

           Debtor

                               MOTION TO AVOID JUDICIAL LIEN OF
                                     THE STATE OF TEXAS

        John Michael Chaney, Debtor herein (hereafter the "Movant"), files this Motion
 to Avoid Judicial Lien of the State of Texas (the "Motion") as against his homestead, and
 as grounds therefor would respectfully show as follows.

        1. In accordance with Local Rule of Bankruptcy Procedure 4003-1, all parties are
 afforded the following notice:

                             21-DAY NEGATIVE NOTICE - LBR 4003(c):

 Your rights may be affected by the relief sought in this pleading. You should read
 this pleading carefully and discuss it with your attorney, if you have one in this
 bankruptcy case. If you oppose the relief sought by this motion, you must file a
 written response in opposition to the motion, explaining the factual and/or legal
 basis for opposing the relief.

 No hearing will be conducted on this Motion to Avoid Judicial Lien unless a written
 response in opposition to it is filed with the Clerk of the United States Bankruptcy
 Court and served upon the party filing this pleading WITHIN TWENTY-ONE (21)
 DAYS FROM THE DATE OF SERVICE listed in the certificate of service unless



 Motion to Avoid Judicial Lien - State of Texas                                         Page 1 of 5
Case 18-42650             Doc 24          Filed 03/06/19 Entered 03/06/19 14:55:20   Desc Main
                                            Document     Page 2 of 8

 the Court shortens or extends the time for filing such response. If no response in
 opposition to the motion is timely served and filed, this motion shall be deemed to be
 unopposed, and the Court may enter an order sustaining the motion. If a response
 in opposition to the motion is filed and served in a timely manner, the Court will
 thereafter set a hearing with appropriate notice. If you fail to appear at the hearing,
 your response in opposition may be stricken. The Court reserves the right to set a
 hearing on any matter.

                          STATEMENT OF JURISDICTION AND VENUE

        2.      Jurisdiction is conferred on this Court by 28 U.S.C. § 157, which
 characterizes this matter as a core proceeding. This motion is brought pursuant to 11
 U.S.C. § 522(f) and in accordance with Bankruptcy Rule 4003(d) and Local Rule of
 Bankruptcy Procedure 4003(e).

           3.         Venue is proper in this Court under 28 U.S.C. § 1408.

                                                   STATUS OF CASE

        4.     On November 28, 2018, Movant filed his voluntary petition in this Court
 under Chapter 7 of the Bankruptcy Code thereby commencing this bankruptcy case;
 Christopher Moser serves as the Chapter 7 trustee. Movant's § 341 meeting of creditors
 was held and concluded on December 21, 2018.

                                  BASIS FOR RELIEF
         5.    Bankruptcy Code section 522(f)(1)(A) allows a debtor to avoid the fixing
 of a lien on an interest of the debtor in property to the extent such lien impairs an
 exemption to which the debtor is entitled if such lien is a judicial lien.

                                                  FACTS OF THIS CASE

        6.       The State of Texas (hereafter "Creditor") recovered a $14,872.01 money
 judgment against Movant on or about June 29, 2018, in the 459th District Court, Travis
 County, Texas. Creditor subsequently recorded an abstract of its judgment pursuant to
 Chapter 52 of the Texas Property Code relating to judgment liens, with the County Clerk
 for Fannin County, which constitutes a lien on and attaches to any real property owned by
 Movant other than real property exempt from seizure or forced sale that is located in
 Fannin County. The abstract of judgment appears of record as Document Number 2018-
 4179 at volume 2059, page 366 of the Official Records for Fannin County. A copy of
 said abstract is attached to Movant' s affidavit, which follows this motion.

         7.      Both when Creditor recorded its abstract of judgment and when Movant
 filed his petition in bankruptcy, Movant owned three tracts of real property in Fannin
 County. The three tracts are listed on his bankruptcy Schedule A/B: Property, filed with



 Motion to Avoid Judicial Lien - State of Texas                                        Page 2 of 5
Case 18-42650             Doc 24          Filed 03/06/19 Entered 03/06/19 14:55:20      Desc Main
                                            Document     Page 3 of 8

 the Bankruptcy Court. At all relevant times, Movant has used and claimed the three
 tracts as his rural homestead and he claimed them exempt under Texas law on his
 bankruptcy Schedule C - The Property You Claim as Exempt [Doc. #1, 11/28/2018].
 The three tracts were listed as follows:

                      a) Fannin CAD Property ID 70929; A0077 W Barker, Acres 1.0
                         (Movant's residence);
                      b) Fannin CAD Property ID 70866; A0069 J Barnhart, Acres 19.8; and
                      c) Fannin CAD Property ID 99546; A0077 W Barker, Acres 7.634

         8.     Creditor did not object to Movant's exemption claim and the exemption
 objection period has expired.

       9.     Though the abstract of judgment may not be enforceable against Movant's
 homestead, it is a cloud on title that impairs Movant's use and enjoyment of his
 homestead.

        10.    This motion is supported by the affidavit of John Michael Chaney, which
 follows this Motion and is incorporated herein by reference for all purposes.

                                                  RELIEF REQUESTED

        11.   Creditor's abstract of its judgment recorded in the Official Records for
 Fannin County is a judicial lien within the purview of 11 U.S.C. § 522(f)(1)(A) and
 impairs Movant's homestead exemption within the meaning of 11 U.S.C. § 522(f).

         12.    Accordingly, Movant requests the Court to enter an Order that avoids
 Creditor's judgment lien as to Movant's three tracts of real property he claimed exempt
 as his homestead.

          WHEREFORE, Movant requests the Court issue an order avoiding and cancelling
 Creditor's aforesaid lien on Movant's exempt property and grant such other and further
 relief, as the Court may deem just and proper.

                                                              Respectfully submitted,

                                                              Law Office of Donald Johnston
                                                              306 N. Travis St., Suite 102
                                                              Sherman, Texas 75090
                                                              (903) 891-9840 telephone
                                                              (903) 891-4051 fax (restricted)
                                                              dohnston50 s verizon.net



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 Motion to Avoid Judicial Lien - State of Texas                                            Page 3 of 5
Case 18-42650              Doc 24          Filed 03/06/19 Entered 03/06/19 14:55:20     Desc Main
                                             Document     Page 4 of 8

                                                             State Bar No. 10834550
                                                             Attorney for Movant

                                         CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that service complies with the LBRP 9013(f) in
that the above foregoing document was served via electronic means, as listed on the
Court's ECF noticing systm qr by regular first class mail pursuant to Federal and Local
Bankruptcy Rules on this UL"YY \day of March 2019 to the following:

 Chapter 7 Trustee                                           Debtor
 Christopher Moser                                           John Michael Chaney
 2001 Bryan Street, Suite 1800                               614 CR 3225
 Dallas, Texas 75201                                         Windom, Texas 75492

 U.S. Trustee                                                Creditor - Abstract of Judgment
 300 Plaza Tower                                             State of Texas
 110 North College Avenue                                    Office of the Attorney General
 Tyler, Texas 75702                                          Bankruptcy and Collections Div.
                                                             P.O. Box 12548
 Creditor - Judgment                                         Austin, Texas 78711-2548
 State of Texas
 Office of the Attorney General
 Bankruptcy and Collections Div.
                  8th Floor
 300 W. 15th St.,
 Austin, Texas 78701
                                                             Donald Johnsto




 Motion to Avoid Judicial Lien - State of Texas                                           Page   of 5
Case 18-42650              Doc 24          Filed 03/06/19 Entered 03/06/19 14:55:20       Desc Main
                                             Document     Page 5 of 8


                      AFFIDAVIT OF FACT IN SUPPORT OF MOTION
                    TO AVOID JUDICIAL LIEN OF THE SATE OF TEXAS


        "My name is John Michael Chancy. I am the debtor in the Chapter 7 bankruptcy
  Case No 18-42650 presently pending in the United States Bankruptcy Court for the
  Eastern District of Texas I am personally familiar with the facts stated in the foregoing
  Motion to Avoid Judicial Lien of State of Texas and they are true and correct"

         "I have read, paragrphs6 through 10 of the motion. The factual allegations made
  therein are within my personal knowledge and they are true and correct."

      • "Although 1 am single, I have a daughter. My residence is on the 1,0-acre tract
  and the 7.634-acre tract on which I have livestock is adjacent and contiguous to it. I use
  the 19.8-acre tract to pasture livestock also. These three tracts total less than iOO acres
  an& are the only land I own."

     • "All three tracts are Located outside of the extraterritorial jurisdiction of any
  municipality or a platted subdivision; and neither of them is served by a municipality or
  by an entity under contract to a municipality for any of the following services: electric,
  natural gas, sewer, storm sewer, or water."

           "Attached hereto is a true copy of the State of Texas' abstract of judgment"

          "After my bankn ptcy is over, the State of Texas' abstract of judgment will still
  be indexed and recorded in the Official Records for Fannin County. Although it has been
  explained to me that the judicial lien imposed by the abstract of judgment would
  technically not be enforceable against my homestead, its mere existence could require
  further action by me to circumvent the automatic effect it has of placing a cloud on title
  against my homestead and cause me to incur unknown costs associated therewith. There
  is also the risk the judicial lien could be asserted in the future at an inopportune time. By
  obtaining an Order avoiding the judicial lien as to my homestead now, the Order should
  be dispositive and could be recorded in the Official Records for Fannin County to offset
  and nullify the abstract of judgment."
          "I declare under penalty of perjury under the laws of the United States of America
  that,the foregoing statements are true and correct."

  FURTHER AFFIANT SAYETH NAUGHT

                                            Executed on_____        2019.




  Motion to Avoid Judidal Lion - Slate of Tcxas
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                                                 Document     Page 6 of 8
                                                      Fannin County
                                            Tammy Biggar Fannin County Clerk
                                              101 E. Sam Rayburn Or. #102
                                                  Bonham, Texas 75418
              IuilIllhIIIIIil
              0201000004179

                                             Instrument Number. 201
                                                            As
Recorded On: July 23, 20                              State Tax Lien
      Pas: THE STATE OF TEXAS
          To :CHANEY JOHN MAKA                                                                             Number of Pages: 3

   Comment: ABSTRACT OF JUDGMENT
                                                   es Listed above are for Clerks reference only
                                           "Examined and Charged as Follows: —
   Tax LIen                        16.00
        Total Rvcdtng             16.00




                              DO NOT REMOVE, THIS PAGE IS PART OF THE INSTRUMENT                                        *
                         Any provision herein which restrIcts the Sale. Rental or use of the described REAL PROPERTY
                                    because of color or race Is Invalid and unenforceable under federal law.

File Information:                                                    Record and Return To:
      Document Number. 2018-4179
         Receipt Number: 265256
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                                           ABSTRACT OF JUDGMENT

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                           Document     Page 8 of 8


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